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   VIA EMAIL & CERTIFIED MAIL                                                              August 20, 2021

   The Hon. Jena Griswold
   Colorado Secretary of State
   1700 Broadway, Ste. 550
   Denver, CO 80290
   Email: elections@sos.state.co.us; judd.choate@sos.state.co.us; hilary.rudy@sos.state.co.us;
   Melissa.Kessler@coloradosos.gov

   RE: Notice of NVRA Violation

   Dear Secretary Griswold:

   Pursuant to 52 U.S.C. § 20510(b)(1), this letter serves as statutory notice to you as Colorado’s
   chief election official that Colorado is in violation of the National Voter Registration Act
   (NVRA) for failure to permit inspection and reproduction of public records as required by the
   National Voter Registration Act (“NVRA”), 52 U.S.C. § 20507(i).

   You are hereby notified that you now face federal litigation if you continue to deny access to the
   requested records.

   Background

   The NVRA requires each state and the District of Columbia to make available for public
   inspection “all records concerning the implementation of programs and activities conducted for
   the purpose of ensuring the accuracy and currency of official lists of eligible voters.” 52 U.S.C. §
   20507(i)(1). The records the NVRA describes are commonly referred to as “voter list
   maintenance” records.

   On June 24, 2021, pursuant to the NVRA, the Foundation requested from the Colorado Secretary
   of State (“CO SOS”) the opportunity to inspect or receive certain voter list maintenance records.
   The Foundation requested (1) “[a]ll ‘ERIC Data’ received from [the Electronic Registration
   Information Center (“ERIC”)] during the years 2019, 2020, and 2021 concerning registered
   voters identified as deceased or potentially deceased”1 and (2) “all reports and/or statewide-
   voter-registration-system-generated lists showing all registrants removed from the list of eligible
   voters for reason of death for the years 2019, 2020, and 2021.” The Foundation requested a
   response by July 9, 2021. A copy of the Foundation’s June 24 request is enclosed with this letter.



   1
     As explained in the Foundation’s June 24 request, “ERIC Data” is a term used in ERIC’s membership agreement
   to described “data included in reports provided by ERIC” to member states concerning deceased and relocated
   registrants, and other information related to voter registration list maintenance. See ERIC Membership Agreement at
   Section 4(a) (page 15), available at https://ericstates.org/wp-content/uploads/2020/02/ERIC_Bylaws_01-2020.pdf
   (last accessed Aug. 19, 2021).

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   CO SOS did not acknowledge or respond to the Foundation’s June 24 request. On July 16, 2021,
   the Foundation requested an update from CO SOS regarding the status of the request. CO SOS
   did not acknowledge or respond to the Foundation’s request for an update. On August 18, 2021,
   the Foundation again requested an update from CO SOS regarding the status of the request. On
   August 18, 2021, CO SOS contacted the Foundation via email and provided CO SOS’s response
   to the Foundation’s request.

   CO SOS Responses

   Request 1: “All ‘ERIC Data’ received from ERIC during the years 2019, 2020, and 2021
   concerning registered voters identified as deceased or potentially deceased.”

   CO SOS denied Request 1 pursuant to the federal Driver’s Privacy Protection Act (“DPPA”), 18
   U.S.C. § 2721, and 15 C.F.R. § 1110 by operation of C.R.S. 24-72-204(1). CO SOS does not
   explain why the DPPA prohibits disclosure of ERIC Data concerning deceased or potentially
   deceased registrants.

   Request 2: “All reports and/or statewide-voter-registration-system-generated lists showing all
   registrants removed from the list of eligible voters for reason of death for the years 2019, 2020,
   and 2021. Such lists will optimally include unique voter identification numbers, county or
   locality, full names, addresses, and dates of birth.”

   CO SOS granted in part and denied in part the Foundation’s second request. CO SOS provided a
   list of registrants removed from Colorado’s voter roll for the reason of death for the years 2019,
   2020, and 2021. CO SOS denied the Foundation’s request for full dates of birth on the grounds
   that C.R.S. 24-72-204(8)(a) prohibits disclosure of that information.

   Violation of the National Voter Registration Act

   As explained in the Foundation’s June 24, 2021 request, the NVRA requires election officials to
   make available for public inspection “all records concerning the implementation of programs
   and activities conducted for the purpose of ensuring the accuracy and currency of official lists of
   eligible voters.” 52 U.S.C. § 20507(i)(1) (emphasis added). The requested records fall within the
   scope of this broad disclosure mandate. The NVRA exempts only two pieces of information—
   (1) a declination to register to vote, and (2) the identity of a voter registration agency through
   which any particular voter is registered. 52 U.S.C. § 20507(i)(1). The Foundation does not seek
   either of those things and the NVRA exempts no other records.

   Neither other federal statutes nor federal regulations supersede or override as a matter of law the
   NVRA’s public inspection requirements. And Colorado’s open records laws are inapplicable
   here because the Foundation’s request is made pursuant to the NVRA, a federal law.
   Furthermore, any Colorado law that limits disclosure of the requested records (or data within
   them) is without force in these circumstances because the NVRA, as a federal enactment, is
   superior to conflicting state laws under the Constitution’s Elections and Supremacy Clauses.




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   Failure to permit public inspection or otherwise provide copies of the requested records is a
   violation of federal law for which the NVRA provides a private-right-of-action. 52 U.S.C. §
   20510(b).

   Secretary Griswold is hereby notified that Colorado is violating the NVRA and that litigation
   may commence against her office if the violations described herein are not cured within 90 days
   of the receipt of this letter. 52 U.S.C. § 20510(b)(2). For lawsuits initiated by a private party, an
   award of attorney’s fees, expenses, and costs incurred is available under 52 U.S.C. § 20510(c).
   The Foundation was recently awarded attorney’s fees and litigation expenses as the prevailing
   party in an action to enforce the NVRA’s public inspection rights.2

   The Foundation believes this matter can be lawfully and amicably cured in the following
   way:

         1. CO SOS shall provide to the Foundation the requested “ERIC Data” reports with
            unique voter identification numbers. The Foundation will consent, in this instance,
            to the redaction of all data elements contained in the Limited Access Death Master
            File (“LADMF”) and protected by 15 C.F.R. § 1110 et seq., such as SSN dates of
            birth, SSN dates of death, SSN death locations, and full/partial SSN numbers.

   The assignment of unique voter identification numbers to each registrant is required by the Help
   America Vote Act, 52 U.S.C. § 303(a)(1)(A). The NVRA makes voter identification numbers
   subject to public inspection. Voter identification numbers are not contained in the LADMF or
   driver’s license records and therefore neither the C.F.R. nor the DPPA governs or prohibits their
   disclosure. For these reasons, CO SOS must allow the Foundation access to ERIC Data with
   voter identification numbers.

   If the violations described herein are not cured in the time afford by law, we will have no choice
   but to pursue remedies in federal court.

   Please contact me to arrange for secure transmission of the requested records, if necessary.

   Thank you for your continued attention on this matter.

   Sincerely,




   Logan Churchwell
   Research Director
   Public Interest Legal Foundation




   2
       Doc. 97, Public Interest Legal Foundation v. Bennett, No. 4:18-cv-0981 (entered June 30, 2021).

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